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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF MICHIGAN

 UNITED STATES OF AMERICA,              )
                                        )              Case No. 1:21-cv-742
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 TROY LEMON d/b/a CORNERSTONE           )
 CONCRETE,                              )
                                        )
          Defendant.                    )
 _______________________________________)

                                          COMPLAINT

         The United States of America, at the direction of the Attorney General and with

authorization of a delegate of the Secretary of the Treasury, pursuant to 26 U.S.C. § 7401, brings

this civil action to reduce to judgment unpaid federal tax liabilities owed by Troy Lemon (the

“Defendant”). For its complaint, the United States alleges as follows:

                                JURISDICTION AND PARTIES

         1.     The district court has jurisdiction pursuant to 26 U.S.C. § 7401(a) and 28

U.S.C. §§ 1331, 1340.

         2.     The defendant Troy Lemon was the sole proprietor of a business that

sometimes used the name “Cornerstone Concrete,” and that did business within the

jurisdiction of this Court.

         3.     Troy Lemon resides in Fennville, Michigan, within the jurisdiction of this

Court.

              CLAIM AGAINST TROY LEMON TO REDUCE FEDERAL
                     TAX ASSESSMENTS TO JUDGMENT




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            4.      On the dates and in the amounts listed below, a duly-authorized delegate

     of the Secretary of the Treasury made the following timely assessments against Troy

     Lemon for (1) Employer’s Quarterly Federal Taxes (FICA - Form 941), including

     interest, penalties, and fees associated with those FICA tax assessments, for the tax

     quarters ending between March 31, 2007 and December 31, 2007, and March 31, 2009

     and December 31, 2009; and (2) Employer’s Annual Federal Unemployment Tax (FUTA

     - Form 940), including interest, penalties, and fees associated with those FUTA tax

     assessments, for the annual tax periods ending on December 31, 2007, and December 31,

     2009, all arising out of the operations of Cornerstone Concrete:

Type of          Tax Period               Assessment              Amount                Balance Due as
Tax              Ending                   Date                    Assessed              of 07/09/2020

FICA             03/31/2007               08/29/2011              $6,033.71             $8,448.78
FICA             06/30/2007               08/29/2011              $14,175.07            $19,889.06
FICA             09/30/2007               08/29/2011              $20,309.87            $28,675.93
FICA             12/31/2007               08/29/2011              $22,218.35            $31,576.51
FICA             03/31/2009               09/23/2013              $3,041.68             $4,586.29
FICA             06/30/2009               09/23/2013              $4,193.99             $6,325.56
FICA             09/30/2009               09/23/2013              $4,954.02             $7,474.00
FICA             12/31/2009               09/23/2013              $3,335.97             $5,034.36
FUTA             12/31/2007               08/29/2011              $3,056.53             $4,340.55
FUTA             12/31/2009               09/23/2013              $2,141.38             $2,853.52

                                                                  Total:                $119,204.56


            5.      Notice of the liabilities described in paragraph 4 was given to, and

     payment demanded from, Lemon.

            6.      Despite proper notice and demand, Lemon has failed, neglected, or

     refused to fully pay the liabilities, and after the application of all abatements, payments,




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and credits, he remains liable to the United States in the amount of $119,204.56, plus

statutory additions and interest accruing from and after July 9, 2020.

       WHEREFORE, the United States respectfully requests that the Court:

       A.      Enter judgment in favor of the United States and against Troy Lemon, in the

amount of $119,204.56, plus statutory additions, including interest pursuant to 26 U.S.C.

§§ 6601, 6621, and 6622, and 28 U.S.C. § 1961(c), that continues to accrue from July 9, 2020,

for (1) Employer’s Quarterly Federal Taxes (FICA - Form 941), including interest, penalties,

and fees associated with those FICA tax assessments, for the tax quarters ending between March

31, 2007 and December 31, 2007, and March 31, 2009 and December 31, 2009; and (2)

Employer’s Annual Federal Unemployment Tax (FUTA - Form 940), including interest,

penalties, and fees associated with those FUTA tax assessments, for the annual tax periods

ending on December 31, 2007, and December 31, 2009; and

       B.      Grant the United States such other and further relief as the Court deems just and

proper, including costs and attorneys’ fees.

                                                     DAVID A. HUBBERT
                                                     Acting Assistant Attorney General
                                                     U.S. Department of Justice, Tax Division

                                                     /s/ Ali Gadelhak
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